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18                               UNITED STATES DISTRICT COURT

19                                FOR THE DISTRICT OF ARIZONA

20     UNITED STATES OF AMERICA,                      CR 18-422-PHX-SPL (BSB)

21               Plaintiff,
                                                      BILL OF PARTICULARS RE:
22                      v.                            FORFEITURE OF PROPERTY

23     MICHAEL LACEY, ET AL.,

24               Defendant.

25
26
            The United States hereby submits the following Bill of Particulars for Forfeiture of
27
     Property.
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              Case 2:18-cr-00422-SPL Document 281 Filed 08/24/18 Page 2 of 2




1           The Forfeiture Allegations of the Superseding Indictment notified defendants pursuant to
2    Rule 32.2 of the Federal Rule of Criminal Procedure that the government, in the event of the
3    conviction of any of the defendants, will seek forfeiture of property pursuant to Title 21, United
4    States Code, Section 853(p), Title 18, United States Code, Section 982(b), and Title 18, United
5    States Code, Section 982(a)(7). The United States hereby gives further notice that, with respect
6    to the Forfeiture Allegations of the Superseding Indictment, it also intends to seek forfeiture of
7    the following specific property: $8,778,802.96 held in Bank of America IOLTA Account
8    #50033414.
9    Dated: August 23, 2018                Respectfully submitted,
10                                                 ELIZABETH A. STRANGE
                                                   First Assistant United States Attorney, District of
11                                                 Arizona
                                                   KEVIN M. RAPP
12                                                 MARGARET PERLMETER
                                                   ANDREW C. STONE
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                                                   BRIAN BENCZKOWSKI
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18                                                 __/s/John Kucera
                                                   JOHN KUCERA
19                                                 Special Assistant U.S. Attorney

20                                                 Attorneys for Plaintiff
                                                   United States of America
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